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16
     (Additional Stipulating parties listed on signature page)
17
                                UNITED STATES DISTRICT COURT
18                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
19

20   IN RE: CATHODE RAY TUBE (CRT)
     ANTITRUST LITIGATION
21

22                                                     Case No. 07-5944 SC

23   This Document Relates to:                         MDL No. 1917
                                                                        Modified
24   Crago, d/b/a Dash Computers, Inc., et al. v.      STIPULATION AND [PROPOSED]
                                                       ORDER REGARDING SCHEDULING OF
     Mitsubishi Electric Corporation, et al.,          DIRECT PURCHASER PLAINTIFF
25
                                                       CLASS CERTIFICATION MOTIONS
     Case No. 14-CV-2058 (SC)
26

27                                                     Judge: Hon. Samuel Conti

28
                         STIPULATION AND [PROPOSED] ORDER RE SCHEDULING OF
                                DIRECT PURCHASER PLAINTIFF ACTIONS
                                      Case No. 07-5944; MDL NO. 1917
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 2          Pursuant to Civil Local Rules 6-2 and 7-12, the Direct Purchaser Plaintiffs, Defendants

 3   Mitsubishi Electric Corporation, Mitsubishi Electric US, Inc., and Mitsubishi Electric Visual

 4   Solutions America, Inc., (collectively “Mitsubishi Electric”), and Defendants Thomson S.A.

 5   (n.k.a. Technicolor S.A.), and Thomson Consumer Electronics, Inc. (n.k.a. Technicolor USA,

 6   Inc.) (collectively, “Thomson”), and Technologies Displays Americas LLC (“TDA”) have

 7   conferred by and through their counsel and, subject to the Court’s approval, HEREBY

 8   STIPULATE AS FOLLOWS:

 9          WHEREAS, on November 7, 2014 the Direct Purchaser Plaintiffs filed a Motion for

10   Class Certification With Respect to the Thomson, TDA and Mitsubishi Defendants (“Motion for

11   Class Certification”);

12          WHEREAS, Mitsubishi Electric, TDA and Thomson’s Responses are currently due on

13   November 21, 2014, the Direct Purchaser Plaintiffs’ Reply is due on December 1, 2014, and the

14   hearing on the Motion for Class Certification is noticed for December 12, 2014;

15          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between counsel

16   as follows:

17          1. The Direct Purchaser Plaintiffs shall make their class certification expert available for

18                 deposition on or before January 31, 2015;

19          2. Defendants Mitsubishi Electric, Thomson, and TDA may serve their opposition to the

20                 class certification motion, and any expert report on the issue of class certification, on

21                 or before February 27, 2015;

22          3. Plaintiffs may submit a reply in support of class certification on or before April 17,

23                 2015;

24          4. Defendants shall make available for deposition any expert submitted in opposition to

25                 class certification on or before March 27, 2014.

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28                          STIPULATION AND [PROPOSED] ORDER RE SCHEDULING OF
                                   DIRECT PURCHASER PLAINTIFF ACTIONS
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 2   PURSUANT TO STIPULATION, IT IS SO ORDERED. The hearing for the class certification shall
     be continued to Friday, 05/01/2015, at 10:00 a.m.     DISTR
 3                                                                     S            ICT
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 4           12/08/2014




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                                                            Hon.   O ORD D
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 5                                                          IT IS S    IF I E
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     Dated: November 21, 2014              JENNER & BLOCK  N                       F
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28                    STIPULATION AND [PROPOSED] ORDER RE SCHEDULING OF
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          Case 3:07-cv-05944-JST Document 3184 Filed 12/08/14 Page 4 of 5



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28                   STIPULATION AND [PROPOSED] ORDER RE SCHEDULING OF
                            DIRECT PURCHASER PLAINTIFF ACTIONS
                                  Case No. 07-5944; MDL NO. 1917
                                             4
             Case 3:07-cv-05944-JST Document 3184 Filed 12/08/14 Page 5 of 5



 1

 2     Dated: November 21, 2014                    SAVERI & SAVERI, INC.

 3                                                 By: __/s/ ___R. Alexander Saveri____

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 9                                                 Interim Lead Counsel for the
                                                   Direct Purchaser Plaintiffs
10

11
     Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this document
12   has been obtained from each of the above signatories.
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28                        STIPULATION AND [PROPOSED] ORDER RE SCHEDULING OF
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